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           16    Apple Inc.                                    Interim Co-Lead Counsel for Plaintiffs
           17
                                              UNITED STATES DISTRICT COURT
           18
                                            NORTHERN DISTRICT OF CALIFORNIA
           19

           20                                         SAN JOSE DIVISION

           21                                                   CASE NO. 5:18-md-02827-EJD
                 IN RE: APPLE INC. DEVICE
           22    PERFORMANCE LITIGATION
                                                                JOINT REPORT REGARDING
           23                                                   MEDIATION SESSION

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Gibson, Dunn &
Crutcher LLP
                                            JOINT REPORT REGARDING MEDIATION SESSION
                                                     CASE NO. 5:18-md-02827-EJD
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            1           The parties held a productive mediation before the Hon. Layn R. Phillips on August 28, 2019.
            2    The parties made progress through this session, and they agreed to continue their discussions. The
            3    parties scheduled a follow-up mediation session with Judge Phillips for September 28, 2019.
            4

            5    DATED: August 30, 2019                      GIBSON, DUNN & CRUTCHER LLP
            6
                                                             By:         /s/ Christopher Chorba
            7                                                              Christopher Chorba
            8                                                Attorneys for Defendant Apple Inc.
            9
                 DATED: August 30, 2019                      KAPLAN FOX & KILSHEIMER LLP
           10

           11                                                By:         /s/ Laurence D. King__
                                                                           Laurence D. King
           12
                                                             Interim Co-Lead Class Counsel
           13

           14    DATED: August 30, 2019                      COTCHETT, PITRE & MCCARTHY LLP
           15
                                                             By:         /s/ Mark C. Molumphy
           16                                                              Mark C. Molumphy
           17                                                Interim Co-Lead Class Counsel
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            1                                          ATTORNEY ATTESTATION

            2            Pursuant to Civil Local Rule 5-1(i)(3), I, Christopher Chorba, hereby attest that concurrence in the

            3    filing of this motion has been obtained from the other signatories. I declare under penalty of perjury under

            4    the laws of the United States that the foregoing is true and correct.

            5            Executed this 30th day of August, 2019, at Los Angeles, California.

            6

            7                                                    By: ___/s/ Christopher Chorba____________
                                                                        Christopher Chorba
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            1                                       CERTIFICATE OF SERVICE
            2           I, Christopher Chorba, hereby certify that on August 30, 2019, the JOINT REPORT
            3    REGARDING MEDIATION SESSION was filed electronically through the CM/ECF system, copies
            4    of which were sent by First Class Mail to individuals whose names appear below and anyone else
            5    unable to accept them via the electronic filing system:
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                                                                             Christopher Chorba
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